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                      UNITED STATES DISTRICT COURT
                                 FOR THE
                           DISTRICT OF VERMONT



ROBERT A. FORTUNATI, ADMINISTRATOR :
OF THE ESTATE OF JOSEPH FORTUNATI; :
ROBERT A. FORTUNATI, SUSAN         :
FORTUNATI; AND MARK FORTUNATI,     :
                                   :
               Plaintiffs,         :
                                   :
                                   :
               v.                  :            File No. 1:07-cv-143-jgm
                                   :
ANDREW CAMPAGNE, MARC THOMAS,      :
JEREMY HILL, TODD PROTZMAN,        :
ROB SNETSINGER, KARL GARDNER,      :
HUGH O’DONNELL, MIKE DUDLEY        :
and WALTER GOODELL,                :
                                   :
               Defendants.         :
__________________________________ :

                             OPINION AND ORDER
                                 (Doc. 157)

     Defendant Vermont State Police troopers Todd Protzman, Rob

Snetsinger, Karl Gardner, Hugh O’Donnell, and Mike Dudley renew

their motion for judgment as a matter of law under Federal Rule

of Civil Procedure 50(b) on grounds of qualified immunity.                (Doc.

157.)


I.   Introduction

     At 7:11 p.m. on June 24, 2006, Joseph Fortunati was killed

as Vermont State Police troopers attempted to apprehend him in a

tense, armed stand-off in Corinth, Vermont.           Joseph, who was bi-

polar, schizophrenic, and had not been taking his medication,

threatened the troopers with his gun as they attempted to bring
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him into custody.   Three members of Joseph’s family drove to the

scene of the shooting three hours later, where they were detained

at gunpoint and placed in handcuffs.

     Members of Mr. Fortunati’s family filed suit in federal

court on behalf of Joseph’s estate and in their personal

capacities, asserting claims under 42 U.S.C. § 1983 for violation

of Joseph’s civil rights by use of excessive deadly force and

unreasonable seizure, for violation of Robert, Susan and Mark

Fortunati’s civil right to be free from unreasonable seizure by

their wrongful arrest, as well as a Vermont state law claim for

wrongful death.   Defendants filed a motion to dismiss, which this

Court granted in part and denied in part on January 25, 2008.

(Doc. 19.)   On December 29, 2009, this Court ruled on the

remaining Defendants’ Motion for Summary Judgment and dismissed

all remaining claims except the 42 U.S.C. § 1983 claims for false

arrest brought by Robert, Susan and Mark Fortunati.         (Doc. 101.)

     A four-day jury trial on the family members’ false arrest

claims began on June 14, 2010.     At the close of Plaintiffs’ case,

and at the close of evidence, Defendants moved for judgment as a

matter of law on grounds there was insufficient evidence of a

false arrest and Defendants, in any case, were entitled to

qualified immunity.   The motions were denied and the case was




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submitted to the jury.1         The jury reached a verdict in favor of

Defendants with respect to Robert Fortunati’s false arrest claim,

but was unable to reach a verdict regarding Susan and Mark’s

claims.

      Defendants now move under Rule 50(b) for judgment as a

matter of law on grounds of qualified immunity for Susan and

Mark’s false arrest claims.          For the reasons that follow,

Defendants are entitled to judgment as a matter of law, on

grounds there is no evidence of Karl Gardner’s personal

involvement in Susan and Mark’s detention, and the remaining

Defendants are entitled to qualified immunity.


II.   Background

      Susan and Mark’s false arrest claims are based on their

detention by Vermont State Police when they drove to the scene of

Joseph Fortunati’s shooting.          The facts surrounding the shooting

are described in detail in the Court’s January 25, 2008 Ruling on

Defendants’ Motion for Summary Judgment (Doc. 101), familiarity

with which is assumed, and they are only briefly recounted here

to provide context.        Facts surrounding the family’s encounters

with Vermont State Police both before and after the shooting were




      1
       It was undisputed at trial that Robert was arrested. The
jury was not instructed regarding Defendants’ qualified immunity.

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adduced at trial and are recounted in relevant part below.2                The

family’s recollection of the incident differs from that of the

troopers, and where recollections conflict, this Court will

consider the evidence, and draw reasonable inferences, favoring

the Plaintiffs in determining whether that evidence is sufficient

to overcome the defense of qualified immunity.

     On the morning of June 24, 2006, Robert Fortunati and his

wife, Susan, accompanied by Robert’s son, Robert Jr., drove to

Copper Mine Road in Corinth, Vermont, in an attempt to persuade

Robert’s son, Joseph, to move his camp from Copper Mine Road to a

more isolated location.        They were concerned about Joseph

because, the day before, Joseph had frightened environmental

workers taking water samples on Copper Mine Road, and the workers

had reported the incident to Vermont state troopers.             When the

family arrived at Joseph’s campsite, however, Joseph threatened

his brother at gunpoint and told his family to leave.              (S.

Fortunati Test. 12, June 15, 2010.)          Robert Fortunati recounted



     2
       This Court’s immunity decision relies on the record at
trial, and any additional facts not adduced at trial that appear
in the summary judgment record are recounted to provide
background and context. “Once trial has been had . . . the
availability of official immunity should be determined by the
trial record, not the pleadings nor the summary judgment record.”
Ortiz. v. Jordan, __ S. Ct. __, 2011 WL 197801, at *3 (Jan. 24,
2011) (quoting 15A C. Wright, A. Miller, & E. Cooper, Federal
Practice & Procedure § 3914.10, p. 684 (2d ed. 1992 and Supp.
2010)). The Defendants here did not assert a qualified immunity
defense with respect to the false arrest claims in their summary
judgment motion papers prior to trial.

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that morning’s incident to state police and offered his help.

Soon thereafter shift commander Sgt. Todd Protzman requested

activation of the Tactical Services Unit (TSU), a SWAT-type unit

within the Vermont State Police.        (Protzman Test. 44, 50, June

14, 2010.)

     TSU members were briefed at the barracks regarding the plan

to take Joseph into custody.     In addition to the risks involved

in taking Joseph into custody, each of the Defendants recalled a

discussion of potential risks posed by members of Joseph’s

family, should they become involved.       Trooper O’Donnell recalls

troopers were concerned the family would alert Joseph to the

mission to take him into custody if they were informed of it

beforehand, and that there was concern regarding the possibility

the family may retaliate after the mission.        (O’Donnell Test. 96-

97, 100, June 15, 2010.)     Sergeant Protzman, who had interacted

with Robert in 1998 when Robert reported finding marijuana

growing on his property, briefed the troopers regarding Robert’s

past statements expressing dislike of state police and informed

them he believed Robert’s temperament was unpredictable, and they

should be cautious in dealing with him. (Protzman Test. 60, 100.)

Protzman also had second-hand information from a concerned

citizen that Robert once stated he would shoot and kill a

trooper, if given the opportunity.       (Protzman Test. 98-99.)

Sergeant Protzman voiced concern that Robert could potentially


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come to the scene and become adversarial.        (Protzman Test. 51.)

Sergeant Rob Snetsinger recalled troopers were told Robert was

someone who may react violently, had a documented dislike for

Vermont State Police, and possessed firearms. (Snetsinger Test.

171, 173, June 14, 2010).

     Shortly before 7:00 p.m. on June 24, 2006, the TSU deployed

near Joseph’s campsite on Copper Mine Road with back-up, canine,

and hostage negotiations units for support.        Seven members

advanced toward the campsite dressed in camouflage and face

paint, and equipped with assault rifles, tasers, and shotguns

with beanbag ammunition.

     Attempts to speak with Joseph, to order him to show his

hands and remain still, and to subdue him with beanbag rounds

failed.   Joseph ran into the woods and circled to his car, where

he likely retrieved a gun.     As troopers converged on him, Joseph,

now armed, refused repeated orders to put his gun down, and when

he reached for the gun in his waistband and pulled it out, two

troopers fired three shots, two of which killed him.          Joseph died

at 7:11 p.m.   (S. Fortunati Test. 18.)

     Meanwhile, during the mission, two troopers were at the

Fortunati residence speaking with three members of Joseph’s

family – Robert, Susan, and another of Joseph’s brothers, Mark

Fortunati.   (Protzman Test. 63; Clark Test. 6, June 15, 2010.)




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After Joseph was killed, the troopers received a page and left

the residence.    (S. Fortunati Test. at 15-16; Clark Test. 11.)

     A few minutes before ten o’clock that night, Robert Jr.

called Robert, Susan, and Mark Fortunati to inform them of

Joseph’s death.    (S. Fortunati Test. 17-18.)      Upon hearing the

news, the three Fortunatis drove toward Copper Mine Road in

Robert’s truck.    Id. at 19.

     Meanwhile, after the shooting, Vermont State Troopers

Dudley, Gardner, O’Donnell and Snetsinger had taken up post near

Ridge Lane on Copper Mine Road to secure the scene of the

shooting.   (Snetsinger Test. 171.)     Two police cruisers were

parked at the side of the road – one of them perpendicular to the

lane of travel, the other past the first, along the edge of the

road and out of the travel lane, although its exact position is

disputed.   (S. Fortunati Test. 59-62.)      Troopers Snetsinger and

O’Donnell, who had participated in the mission, were in

camouflage, with black and green paint on their faces, and armed

with MP5 submachine guns.     (Snetsinger Test. 172.)      The remaining

troopers were in uniform and armed with service weapons.          Their

post was approximately a quarter mile from the scene of the

confrontation with Joseph Fortunati.       Shortly before the

Fortunatis arrived, Sgt. Protzman joined the troopers at the post

and told them Joseph’s family had learned of the incident and

there was a possibility they would come to the scene.          (Protzman


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Test. 68.)    At approximately 10:15 p.m., the troopers saw the

headlights of a pick-up truck approaching their post.            (Protzman

Test. 69.)

     Susan Fortunati recalls that Robert was driving on Copper

Mine Road at approximately 30 miles an hour as the family

approached.    Mark was in the front passenger seat, and Susan was

in the middle of the back seat.        (S. Fortunati Test. 20.)

     The scene appeared dark to Susan as the truck came upon the

two marked police cruisers.       (Id. at 25.)     The cruisers’ flashing

lights were not activated, although a cruiser’s spotlight was

illuminating the canopy of trees above the road and the cruiser’s

reflective markings could be seen.        (Id. at 55; Snetsinger Test.

199; M. Fortunati Test. 7, June 15, 2010.)          Sergeant Protzman

testified the parking lights for one cruiser were on, and the

headlights for the second were also on.         (Protzman Test. 101.)

Although troopers testified the truck was speeding as it

approached them and veered or swerved around the parked cruiser

making an abrupt stop and short skid, according to Susan and

Mark, their truck slowed to a normal stop after passing the first

cruiser, without veering.       (S. Fortunati Test. 24, 26, 28; M.

Fortunati Test. 8-10.)      The truck headlights illuminated the

area.

     Contrary to the troopers’ testimony they had to move out of

the truck’s way as it approached, and Protzman’s testimony that


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the truck almost ran over his foot (Protzman Test. 87, 105),

Susan recalls only that someone crossed the road diagonally in

front of the truck after it had stopped. (S. Fortunati Test. 25-

26.)    Mark recalled seeing an officer twenty feet ahead signaling

for the truck to stop. (M. Fortunati Test. 10.)           Trooper

O’Donnell testified he was yelling for the vehicle to stop.

(O’Donnell Test. 107.)

       When the truck stopped, Robert exited and moved along the

side of the cruiser parked perpendicular to the road.            (S.

Fortunati Test. 33.)      He took a few steps towards Sgt.

Snetsinger.    (Snetsinger Test. 183.)       Snetsinger testified Robert

was shouting that the troopers had killed his son, he did not

obey orders to stop and return to his truck, and Snetsinger

believed he was agitated and potentially assaultive.            (Id. at

184, 204-05.)     Sergeant Protzman recalls Robert was agitated and

asked Snetsinger why he had killed his son.          (Protzman Test. 77,

107.)    Snetsinger immediately turned Robert around, pressed him

into the driver’s side of the truck and requested assistance with

handcuffs.    (Snetsinger Test. 185.)       Trooper Gardner assisted in

handcuffing Robert.      (Gardner Test. 36, June 15, 2010.)

       Susan recalls the commotion on the driver’s side of the

truck, and someone standing outside the passenger side screaming

at her to put her hands up. (S. Fortunati Test. 33-34.)             Susan

and Mark recall looking at the barrel of an assault weapon.


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(Id.; M. Fortunati Test. 15.)        The second time Susan was ordered

to put her hands up, she complied and told Mark to do the same.

(S. Fortunati Test. 34.)       Next, Susan and Mark were ordered out

of the truck by Officer Dudley, and they exited with their hands

up.   (Id. at 35; R. Fortunati Test. 63.)         According to Susan, the

two troopers on the passenger side of the truck, Dudley and

O’Donnell, had their weapons pointed at Susan and Mark.             (S.

Fortunati Test. 35.)      Susan testified she was concerned about

Robert and “hollered” to him three times to see if he was

alright.    (Id.; R. Fortunati Test. 19.)        Susan and Mark were then

ordered to turn around and put their hands behind their back.

(O’Donnell Test. 111.)       Snetsinger testified he ordered Mark and

Susan cuffed to maintain control of everyone at the scene, and

because Mark and Susan were potentially in the early stages of

behaving dangerously or aggressively.         (Snetsinger Test. 187-88,

207.)    Susan and Mark were handcuffed by Protzman and Dudley,

respectively (Dudley Test. 137, June 15, 2010), Protzman patted

them down (Protzman Test. 81), and they were then told to stand

and stay beside the truck (S. Fortunati Test. 35, 37, 41).

      Protzman conducted a cursory search of the truck’s open

cockpit and the lunge area where the driver could reach.

(Protzman Test. 82.)      After Susan was cuffed, she recalls asking

if she was under arrest.       She was told she was not.       She asked

why she was handcuffed, and testified that the troopers responded


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“because we don’t know you people.”           (S. Fortunati Test. 36.)

Sergeant Snetsinger testified that Mark and Susan were placed in

protective custody, and handcuffs were necessary for officer

safety and controlling the scene.           (Snetsinger Test. 208.)

According to Susan and Mark, the troopers kept their weapons

trained on the Fortunatis for at least five minutes.             (S.

Fortunati Test. 36-37; M. Fortunati Test. 16.)            Trooper O’Donnell

testified that once the Fortunatis were in handcuffs, the

troopers’ weapons were lowered and he joined the troopers

handling Robert on the other side of the truck.            (O’Donnell Test.

126.)     Dudley, who was dressed in his patrol uniform, testified

he did not recall drawing his handgun on Mark and Susan.               (Dudley

Test. 140.)

       When the troopers decided to charge Robert with negligent

driving and resisting arrest and prepared to transport Robert to

St. Johnsbury for processing, they uncuffed Susan and Mark, who

both returned home in Robert’s truck.           (S. Fortunati Test. 38-

39.)    Susan believed they drove away from the scene at

approximately 11:20 p.m., because she recalled returning home at

11:30.     (Id. at 49.)    According to Robert Fortunati, Susan and

Mark had been handcuffed for between 20 to 30 minutes.              (R.

Fortunati Test. 65.)       Dudley, on the other hand, recalls

uncuffing Mark after ten to twelve minutes elapsed.             (Dudley




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Test. 139.)     The charges against Robert were dropped

approximately one month after the incident.


III. Discussion

       A.   Insufficient Evidence of Trooper Gardner’s Personal
            Involvement

       There is no evidence in the record Karl Gardner had any

contact with either Susan or Mark Fortunati or issued any orders

regarding their detention.       “Personal involvement of defendants

in alleged constitutional deprivations is a prerequisite to an

award of damages under § 1983.”        Wright v. Smith, 21 F.3d 496,

501 (2d Cir. 1994).      Trooper Gardner handcuffed and arrested

Robert Fortunati, but had no verbal or physical contact with Mark

and Susan.     See generally, Gardner Test., June 15, 2010

(indicating Gardner was involved only in arresting Robert

Fortunati).     He is therefore entitled to judgment as a matter of

law.    Even if he were personally involved, he would be entitled

to qualified immunity for the reasons that follow.


       B.   Insufficient Evidence to Overcome Qualified Immunity
            Defense for Remaining Defendants

       The unlawfulness of Susan and Mark’s detention in this case

was not clearly established, and the remaining Defendants are

entitled to qualified immunity.        It would not be clear to a

reasonable officer in the Defendants’ position, following a

deadly confrontation with Joseph Fortunati, and having been


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briefed with information suggesting family members’ reaction may

pose a danger to troopers, that stopping the truck, ordering the

Fortunatis out at gunpoint, and then temporarily placing them in

handcuffs, was unlawful in the unique situation they confronted.

The troopers had just ended a tense standoff with an armed

schizophrenic, were charged with securing the scene, and had

information regarding potential dangers posed by the Fortunatis’

reaction to the incident.


             i.    Applicable Law

      A renewed motion for judgment as a matter of law may

address “a jury issue not decided by a verdict.”            Fed. R. Civ. P.

50(b).     Judgment as a matter of law is appropriate when “a party

has been fully heard on an issue,” and a court finds there is no

“legally sufficient evidentiary basis to find for the party on

that issue,” and thus may “resolve the issue against the party”

and “grant a motion for judgment as a matter of law against the

party on . . . a defense that, under the controlling law, can be

. . . defeated only with a favorable finding on that issue.”

Rule 50(a); see also Nadel v. Isaksson, 321 F.3d 266, 272 (2d

Cir. 2003) (noting a district court on a Rule 50 motion must view

evidence in favor of the non-moving party and may not weigh

credibility of witnesses or consider weight of evidence).

     Qualified immunity protects officers from civil liability

where “their conduct does not violate clearly established

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statutory or constitutional rights of which a reasonable person

would have known.”    Harlow v. Fitzgerald, 457 U.S. 800, 818

(1982).   It is an “immunity from suit rather than a mere defense

to liability; . . . it is effectively lost if a case is

erroneously permitted to go to trial.”        Mitchell v. Forsyth, 472

U.S. 511, 526 (1985).     “After trial, if defendants continue to

urge qualified immunity, the decisive question, ordinarily, is

whether the evidence favoring the party seeking relief is legally

sufficient to overcome the defense.”       Ortiz. v. Jordan, __ S. Ct.

__, 2011 WL 197801, at *3 (Jan. 24, 2011) (citing Fed. R. Civ. P.

50(a) and (b) for conditions on which judgment may be granted as

a matter of law).

     Until recently, courts resolved qualified immunity claims by

making two inquiries in a mandated sequence.         First, courts

inquired whether the facts alleged, taken in the light most

favorable to the party asserting the injury, showed an officer’s

conduct violated a constitutional right.        Saucier v. Katz, 533

U.S. 194, 201 (2001).     Second, if a plaintiff had made out a

violation, the court determined whether the right violated was

“clearly established” at the time of a defendant’s alleged

misconduct, and qualified immunity applied unless the right was

clearly established.    Id.

     In the Supreme Court’s recent decision in Pearson v.

Callahan, 129 S. Ct. 808 (2009), however, the Court held that


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while the sequence of the Saucier inquiries was often appropriate

and beneficial, the order in which the inquiries were made was no

longer mandatory, and courts could in their discretion decide

which prong should be addressed first in light of the

circumstances in the case at hand.         Pearson, 129 S. Ct. at 818.

The Court observed adherence to the Saucier two-step protocol

departed from the general rule of constitutional avoidance, and

required adjudication of uncertain constitutional questions even

when there was another ground upon which the case could be

disposed.    Id. at 821.

     The second prong of the Saucier inquiry “turns on the

‘objective reasonableness of the action, assessed in light of the

legal rules that were clearly established at the time it was

taken.’” Id. at 822.      Qualified immunity applies when “an officer

reasonably believes that his or her conduct complies with the

law.”    Id. at 823.

     The second inquiry, the Saucier Court noted, “must be

undertaken in light of the specific context of the case, not as a

broad general proposition.”        Saucier, 533 U.S. at 201.       The

“dispositive inquiry” is “whether it would be clear to a

reasonable officer that his conduct was unlawful in the situation

he confronted.”     Id. at 202.     “If the officer’s mistake as to

what the law requires is reasonable, however, the officer is

entitled to the immunity defense.”         Id.


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     According to the Second Circuit, “[o]nly Supreme Court and

Second Circuit precedent existing at the time of the alleged

violation is relevant in deciding whether a right is clearly

established.”   Moore v. Vega, 371 F.3d 110, 114 (2d Cir. 2004);

cf. Pearson, 129 S. Ct. at 823 (noting that in circumstances

where the Tenth Circuit had not ruled on the legality of

warrantless entries based on “consent-once-removed,” officers in

Pearson were entitled to rely on decisions issued by three other

federal courts of appeal and state supreme courts).          Cases in

this Circuit suggest that, where aggressive or intrusive tactics

are a reasonable response to concerns that the officer’s or

others’ safety is in danger, the use of force is reasonable and

will not necessarily convert an investigative stop into an

arrest.

     In United States v. Vargas, the Second Circuit held officers

were justified in using a greater degree of force than was

typical of a Terry stop, when, in response to a tip from a

confidential informant that the suspect was an armed drug dealer,

they attempted to speak with him, pursued him as he fled up an

alleyway, and then had a brief struggle with him before he was

placed on the ground, cuffed, and patted down.         Vargas, 369 F.3d

98, 102 (2d Cir. 2004).     The panel reasoned, “although under

ordinary circumstances, drawing weapons and using handcuffs are

not part of a Terry stop[,] intrusive and aggressive police


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conduct is not an arrest ‘when it is a reasonable response to

legitimate safety concerns on the part of the investigating

officers.’”   Vargas, 369 F.3d 98, 102 (2d Cir. 2004).

     In United States v. Alexander, the Second Circuit held DEA

agents were justified in approaching a suspected narcotics

purchaser, who was under surveillance in a high-crime

neighborhood, with unholstered guns, ordering him out of his

Jaguar and frisking him, and concluded this amounted to an

investigative stop, not an arrest.       Alexander, 907 F.2d 269, 272

(2d Cir. 1990).   The panel reasoned that a:

     law enforcement agent, faced with the possibility of
     danger, has a right to take reasonable steps to protect
     himself and an obligation to ensure the safety of
     innocent bystanders, regardless of whether probable
     cause to arrest exists . . . . “The officer need not
     be absolutely certain that the individual is armed; the
     issue is whether a reasonably prudent man in the
     circumstances would be warranted in the belief that his
     safety or that of others was in danger.”

Id. (quoting Terry v. Ohio, 392 U.S. 1, 27 (1968)).          The

Alexander panel also noted “[t]here are no hard and fast rules

for evaluating the conduct of law enforcement agents conducting

investigative stops.”     Id.

     The Supreme Court has also noted the reasonableness of

police action turns on the particular circumstances of the case,

because the law enforcement officers “are often forced to make

split-second judgments – in circumstances that are tense,

uncertain, and rapidly evolving – about the amount of force that


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is necessary in a particular situation,” and therefore “the

reasonableness of the officer’s belief as to the appropriate

level of force should be judged from that on-scene perspective.”

Saucier v. Katz, 544 U.S. at 205.


          ii.   Qualified Immunity: Objective Reasonableness of
                Troopers’ Actions Under Second Prong of the
                Saucier Inquiry

     Without deciding whether the Fortunatis have established a

constitutional violation on grounds their detention amounted to

an arrest without probable cause, rather than a stop placing them

in protective custody, this Court concludes that even if, on

Plaintiffs’ version of the facts, a constitutional violation

could be shown, it would not be clear to a reasonable officer in

the Defendants’ position that his conduct was unlawful in the

situation the Defendants confronted.       See Okin v. Village of

Cornwall-on-Hudson Police Dep’t, 577 F.3d 415, 433 (2d Cir. 2009)

(objective reasonableness is met, and police officers entitled to

qualified immunity, if the question of whether the officers

violated rights “is one on which officers of reasonable

competence could disagree”); Walczyk v. Rio, 496 F.3d 139, 154

(2d Cir. 2007) (“Even if the right at issue was clearly

established in certain respects, . . . an officer is still

entitled to qualified immunity if ‘officers of reasonable

competence could disagree’ on the legality of the action at issue

in its particular factual context.”)       In contrast, if “no officer

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of reasonable competence would conclude that the conduct in

question is lawful, there is no immunity.”          Okin, 577 F.3d at

433.    Qualified immunity operates to protect officers from the

“sometimes ‘hazy border between excessive and acceptable force.’”

Saucier, 533 U.S. at 206.

       Here, qualified immunity is warranted because there is no

case in the Second Circuit clearly establishing that the

Defendants’ protective stop was not “within the bounds of

appropriate police responses” given the circumstances of this

case.    Id. at 208.

       The trial record reflects the state troopers had posted

themselves a quarter-mile from the site of Joseph’s shooting to

secure the scene.      Two of them were dressed in camouflage and

carried semi-automatic weapons because of their role in the

mission to apprehend Joseph.        Three of them were dressed in

trooper uniforms and carried service revolvers.           Moments before

the Fortunatis approached in their truck, the troopers had been

warned the family learned of Joseph’s death and would possibly

arrive.

       Earlier that day, they had been briefed regarding the

dangers posed by Fortunati family members’ potential reaction to

the mission.     They were aware Robert Fortunati possessed weapons

and could reasonably have been concerned that weapons either were

present in the approaching truck or were being carried by one or


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more of its passengers.       They were aware Robert Fortunati had, in

the past, expressed antipathy for state police.           Even accepting

Plaintiffs’ account that their truck did not speed or swerve as

it approached the troopers, and their truck stopped and did not

go beyond the parked cruisers, regardless of whether the cruisers

were or were not intended to serve as a roadblock, a reasonable

trooper could reasonably believe it was necessary to secure the

troopers’ safety and the safety of the scene by ordering all the

truck’s passengers out of the vehicle, frisking them and cuffing

them, even though they were not belligerent or resisting, to

ensure they carried no weapons and could not access any weapon

potentially stored in the truck, keeping them in handcuffs while

the truck was swept for weapons, and then releasing them twenty

to thirty minutes later when Robert Fortunati was transported

away.

     While the show of force here was considerable, with at least

two troopers ordering the Fortunatis out with drawn weapons, one

of which was an assault weapon, the use of force in conducting

stops has been upheld where officers reasonably believed their

safety was in danger.       Even if using drawn weapons to order the

family out of the truck exceeded what was necessary to effectuate

the stop, it would not have been apparent this was unlawful in

this particular context, in light of existing caselaw at the time

of the incident.      See e.g., United States v. Alexander, 907 F.2d


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269, 272 (2d Cir. 1990) (“The officer need not be absolutely

certain that the individual is armed; the issue is whether a

reasonably prudent man in the circumstances would be warranted in

the belief that his safety or that of others was in danger.”).

      Here, the trial record indicates the troopers suspected the

confrontation with the family could pose danger to their safety,

for they had been briefed with facts suggesting the possibility –

they knew beforehand that Robert Fortunati owned weapons, had

voiced his antipathy for state troopers, had stated he would kill

a trooper if given the opportunity, that he and family members

had been informed of Joseph’s death and were likely to be upset,

and therefore the approaching truck, its contents, and any one of

its passengers, posed a potential danger to the troopers.

      In these very unique circumstances, the troopers are

entitled to qualified immunity.       The Fortunatis have not

presented evidence sufficient to overcome the defense.


IV.   Conclusion

      Therefore, because Defendant Gardner was not personally

involved in the detention, and all the Defendant troopers are

entitled to qualified immunity, Defendants’ renewed Rule 50(b)

motion for judgment as a matter of law is GRANTED.

      SO ORDERED.




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     Dated at Brattleboro, in the District of Vermont, this 15th

day of February, 2011.



                                  /s/ J. Garvan Murtha
                                  Honorable J. Garvan Murtha
                                  Senior United States District Judge




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